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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

WSOU INVESTMENTS, LLC d/b/a                 §
BRAZOS LICENSING AND                        §
DEVELOPMENT                                 §       CIVIL ACTION NO. 6:20-cv-585[ADA]
                                            §
v.                                          §
                                            §
GOOGLE LLC                                  §

  ORDER GRANTING GOOGLE LLC’S MOTION TO STRIKE AND EXCLUDE THE
       NEW INFRINGEMENT THEORIES UNRELATED TO PLAINITFF’S
 INFRINGEMENT CONTENTIONS OF WSOU’S TECHNICAL EXPERT DR. TAMÁS
                           BUDAVÁRI

       Before the Court is Google’s Motion to Strike and Exclude the New Infringement Theories

Unrelated to Plaintiff’s Infringement Contentions of WSOU’s Technical Expert Dr. Tamás

Budavári. After consideration of said motion, the Court finds that it is well-taken and should be

GRANTED.

       SIGNED on this _______ day of _______________________, 2023.


                                            __________________________________
                                            ALAN D ALBRIGHT
                                            UNITED STATES DISTRICT JUDGE
